Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division


 JOSE A. TORRES AND
 ISABEL LITOVICH-QUINTANA,                                  Case No. ________________

                Petitioners,
 vs.

 MORGAN STANLEY SMITH BARNEY LLC D/B/A
 MORGAN STANLEY,

                Respondent.
                                                        /


                    PETITION TO CONFIRM ARBITRATION AWARD

        Pursuant to Section 9 of the Federal Arbitration Act, 9 U.S.C. § 9, Petitioners, Jose A.

 Torres and Isabel Litovich-Quintana, respectfully request confirmation of a Financial Industry

 Regulatory Authority (FINRA) arbitration award entered on July 16, 2019, in favor of

 Petitioners, and against Morgan Stanley Smith Barney LLC D/B/A Morgan Stanley, a copy of

 which is attached hereto as Exhibit A.

                                          INTRODUCTION

        1.      Petitioners, Jose A. Torres (“Jose”) and Isabel Litovich-Quintana (“Elizabeth”),

 maintained brokerage accounts with Morgan Stanley Smith Barney LLC D/B/A Morgan Stanley

 (“Morgan Stanley”). Jose and Elizabeth sustained significant losses allegedly caused by Morgan

 Stanley and its former registered representative, Angel Aquino (“Aquino”). The losses sustained

 by Jose and Elizabeth were in Puerto Rico closed-end funds, Puerto Rico bonds and a now

 bankrupt gaming company.



                                                                                              1
Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 2 of 8




        2.      On July 19, 2017, Jose and Elizabeth filed a FINRA Arbitration claim against

 Morgan Stanley for breach of fiduciary duty, negligence, negligent supervision, fraud, breach of

 contract, breach of contract-third party beneficiary, violation of the Puerto Rico Uniform

 Securities Act, violation of the Florida Securities and Investor Protection Act, violation of

 Sections 10(b) of the Securities Exchange Act, 15 U.S.C. §78j(b), and violation of Rule 10b-5 of

 the Securities and Exchange Commission.

        3.      On January 14-18, 21-24, March 2-6 and April 22-26, an arbitration hearing was

 conducted in Miami, Florida before a three member FINRA Arbitration panel. The FINRA

 arbitration panel heard 19 days of evidence. The parties presented nine witnesses as well as

 extensive documentary evidence. The parties also submitted extensive pre-trial and post-trial

 submissions.

        4.      On July 16, 2019, the FINRA panel delivered its award (hereinafter the “FINRA

 arbitration Award”) in favor of Jose and Elizabeth and against Morgan Stanley as follows:

                                            AWARD

                After considering the pleadings, the testimony and evidence
                presented at the hearing, the Panel has decided in full and final
                resolution of the issues submitted for determination as follows:

                   1. Respondent is liable and shall pay to Claimants the sum of
                      $261,420.63 in compensatory damages.

                   2. Respondent is liable for and shall pay to Claimants interest
                      on the above-stated sum at the rate of 0.1% per annum from
                      March 31, 2013, through and including August 30, 2014.

                   3. Respondent is liable for and shall pay to Claimants the sum
                      of $3,000,000.00 in monetary sanctions, in accordance with
                      Rules 12212 and12511 of the Code of Arbitration
                      Procedure (the “Code”). The Panel has provided the
                      following explanation for their finding:


                                                                                               2
Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 3 of 8




                   During the course of the evidentiary hearing, the Panel was
                   made aware of Respondent’s alleged failure to comply with
                   a discovery request Order, which was granted pre-hearing
                   by the prior Chairperson with respect to the production of
                   documents related to the termination of a key employee of
                   Respondent. After hearing oral argument on the issue by
                   both parties, the full Panel issued the same Order was
                   previously issued by the prior Chairperson for production
                   of “all” related documents by midnight. The Panel noted
                   that the prior Chairperson’s Order did not limit itself to
                   “pre-termination” or “post termination” documents when it
                   stated “all.” Respondent did not send the requested
                   documents to Claimants’ counsel by midnight, nor did
                   Respondent’s counsel provide opposing counsel with the
                   courtesy of an email by midnight explaining why “all” of
                   the ordered documents were not being produced. The
                   evidentiary hearing was delayed, for a second time, to
                   permit both parties to provide oral argument on the
                   “settlement privilege” which Respondent’s counsel alleged
                   applied to the documents that Respondent was withholding
                   and proposing to have the Panel review “in camera.” The
                   Panel again ordered the withheld documents to be handed
                   to Claimants’ counsel, and not to the Panel for in camera
                   review. The Panel took note of the extreme prejudice
                   Respondent’s failure of compliance caused Claimants’
                   counsel in preparing their case and asserting their claims
                   without the withheld documents which the Panel deemed
                   were highly relevant to the dispute in question, the central
                   figure of which was the terminated employee whose related
                   documents were being withheld. Claimants’ counsel
                   repeatedly requested that Respondent be assessed monetary
                   sanctions for its failure of compliance with the Panel’s
                   Orders. At the conclusion of the evidentiary hearing, the
                   Panel ordered both parties to submit post-hearing briefs on
                   the issue of the sanctions requested by Claimants’ against
                   Respondents.

                   The Panel noted that Rule 12506(b)(2) of the Code related
                   to parties’ obligation to “act in good faith when complying
                   with subparagraph (1) of this rule. ‘Good Faith’ means that
                   a party must use its best efforts to produce all documents
                   required or agreed to be produced. If a document cannot be
                   produced in the required time, a party must establish a
                   reasonable timeframe to produce the document.” The Panel
                   also took note of Rule 12212 of the Code related to
                   sanctions: “(a) The panel may sanction a party for failure to
                                                                              3
Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 4 of 8




                        comply with any provision in the Code, or any order of the
                        panel or single arbitrator authorized to act on behalf of the
                        panel. Unless prohibited by applicable law, sanctions may
                        include, but are not limited to:

                           •    Assessing monetary penalties payable to one or
                                more parties; . . .”

                        In accordance with the above, after due deliberation and
                        upon consideration of the negative effects that
                        Respondent’s noncompliance with the Panel’s Orders had
                        on its efforts to achieve a fair arbitration hearing, the Panel
                        hereby orders Respondent to pay monetary sanctions to
                        Claimants in the amount of $3,000,000.00.

                    4. Other than the forum fees which are specified below, the
                       parties shall each bear their own costs and expenses
                       incurred in this matter.

                    5. Any and all claims for relief not specifically addressed
                       herein, including Claimant’s request for punitive damages
                       and attorneys’ fees, are denied.

 See Exhibit A (FINRA arbitration Award).

                                             PARTIES

        5.      Petitioners are residents of San Juan, Puerto Rico. Petitioners are married.

        6.      Respondent, Morgan Stanley, is a corporation organized and existing under the

 laws of New York. Morgan Stanley is registered with the Florida Office of Financial Regulation

 as a securities broker-dealer, and at all times material hereto was conducting business in the State

 of Florida. At all times relevant and material hereto, Morgan Stanley conducted its business with

 Jose and Elizabeth through its offices located in Miami, Florida.

                               SUBJECT-MATTER JURISDICTION

        7.      Pursuant to 28 U.S.C. § 1331, “the district courts shall have original jurisdiction

 of all civil actions arising under the Constitution, laws, or treaties of the United States.” This


                                                                                     4
Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 5 of 8




 Court has federal question jurisdiction over this matter because Jose and Elizabeth asserted

 arbitral claims arising under the laws of the United States. Specifically, Jose and Elizabeth

 Statement of Claim, filed with FINRA Dispute Resolution, alleged violations of Section 10(b) of

 the Securities Exchange Act, Rule 10b-5 promulgated thereunder. See Exhibit A (FINRA

 arbitration Award; acknowledging the causes of action under federal law); Exhibit B (FINRA

 Statement of Claim). In actions involving a federal question such as this one, the Court may

 exercise supplemental jurisdiction over the remaining claims where, as here, stem from a

 common set of operative. See 28 U.S.C. § 1367; see also United Mine Workers v. Gibbs, 383

 U.S. 715, 725 (1966); Jesus-Santos v. Morgan Stanley Dean Witter, Inc., No. Civ. 05-1346, 2006

 WL 752997, at *2 (D.P.R. March 22, 2006).

        8.      Moreover, pursuant to 28 U.S.C. § 1331(a)(1), “the district courts shall have

 original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

 of $75,000, exclusive of interest and costs, and is between-- (1) citizens of different States. . . .”

 This Court has diversity jurisdiction over this matter because Jose and Elizabeth are residents of

 Puerto Rico, Morgan Stanley is a New York corporation and the amounts at issue exceed

 $75,000.

                                               VENUE

        9.      Venue is proper in this district under 9 U.S.C. § 9 because the arbitration was

 conducted in this district, and/or the FINRA arbitration award was rendered in this District;

 alternatively, venue is proper in this district per 28 USC §1391 in that a substantial part of the

 events giving rise to the claim occurred in this district. Jose and Elizabeth’s Morgan Stanley

 financial advisor was employed at Morgan Stanley’s offices located in Miami, Florida and



                                                                                                     5
Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 6 of 8




 Morgan Stanley conducted its business with Jose and Elizabeth through its offices located in

 Miami, Florida.

                                              FACTS

        10.     Jose and Elizabeth were required to arbitrate any dispute with Morgan Stanley.

        11.     On July 19, 2017, Jose and Elizabeth filed a FINRA Arbitration claim against

 Morgan Stanley for breach of fiduciary duty, negligence, negligent supervision, fraud, breach of

 contract, and breach of contract-third party beneficiary, violation of the Puerto Rico Uniform

 Securities Act, violation of the Florida Securities and Investor Protection Act, and violation of

 Sections 10(b) of the Securities Exchange Act, 15 U.S.C. §78j(b) and Rule 10b-5 of the

 Securities and Exchange Commission. See Exhibit A.

        12.     On January 14-18, 21-24, March 2-6 and April 22-26, an arbitration hearing was

 conducted in Miami, Florida before a three-member FINRA Arbitration panel.

        13.     On July 16, 2019, a FINRA arbitration panel issued an award included

 compensatory damages, interest, and sanctions in favor of Jose and Elizabeth and against Morgan

 Stanley. See Exhibit A.

        14.     Section 9 of the Federal Arbitration Act provides that a party may, within one (1)

 year after an arbitration award is made, apply to the court for an order confirming the award, and

 thereupon the court must grant such an order unless the award is vacated, modified, or corrected,

 as prescribed in section 10 and 11 of this title. 9 U.S.C. § 9 (2008). There are no grounds to

 vacate, modify, or correct the award.

        15.     The final arbitration Award is binding on the parties. See Exhibit A at 1-2 (stating

 that Jose and Elizabeth and Morgan Stanley signed FINRA Submission Agreements); and

 FINRA Rule 12904(b), which the parties agreed to follow and abide under (“Unless the

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Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 7 of 8




 applicable law directs otherwise, all awards rendered under the [FINRA Arbitration] Code are

 final and are not subject to review or appeal.”).

         16.      Jose and Elizabeth are entitled to confirmation of the FINRA arbitration Award

 and entry of final judgment in conformity with the FINRA arbitration Award and pursuant to 9

 U.S.C. § 9, which provides that a “court must grant such an order unless the award is vacated,

 modified, or corrected.” The statute is unambiguous. As the Supreme Court has explained,

 “[t]here is nothing malleable about ‘must grant,’ which unequivocally tells courts to grant

 confirmation in all cases, except when one of the ‘prescribed’ exceptions applies.” Hall St.

 Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 587 (2008).

         17.      For these reasons, the FINRA arbitration Award is ripe for summary proceedings

 to confirm the award. See Legion Insurance Co. v. Insurance General Agency, Inc., 822 F.2d 541,

 543 (5th Cir. 1987) (“Arbitration proceedings are summary in nature to effectuate the national

 policy of favoring arbitration, and they require 'expeditious and summary hearing, with only

 restricted inquiry into factual issues.’” (quoting Moses H. Cone Memorial Hospital v. Mercury

 Construction Corp., 460 U.S. 1, 22 (1983)). Florasynth, Inc. v. Pickholz, 750 F.2d 171, 176 (2d

 Cir. 1984) (“[T]he confirmation of an arbitration award is a summary proceeding that merely

 makes what is already a final arbitration award a judgment of the court.”); Amicizia Societa

 Navegazione v. Chilean Nitrate and Iodine Sales Corp., 274 F.2d 805, 808 (2d Cir.1960) (“[T]he

 court's function in confirming or vacating an arbitration award is severely limited. If it were

 otherwise, the ostensible purpose for resort to arbitration, i.e., avoidance of litigation, would be

 frustrated.”).

         18.      In this action, Jose and Elizabeth seek confirmation of the award in a Final

 Judgment to be rendered by this Court, under the Federal Arbitration Act.

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Case 1:19-cv-22977-MGC Document 1 Entered on FLSD Docket 07/17/2019 Page 8 of 8




        19.     Jose and Elizabeth request a Final Judgment confirming and adopting the FINRA

 arbitration Award in its totality, including directing Respondent to compensate Petitioners:

                a.      The sum of $261,420.63 for compensatory damages;

                b.      Interest on the above-stated sum at the rate of 0.1% per annum from
                        March 31, 2013, through and including August 30, 2014;

                c.      The sum of the sum of $3,000,000.00 in monetary sanctions;

                d.      Prejudgment and post judgment interest; and

                e.      All such other and further relief as determined to be just as awarded by
                        this Court.

        WHEREFORE, Petitioners, Jose A. Torres and Isabel Litovich-Quintana, respectfully

 applies to the Court for a Final Judgment confirming the FINRA arbitration award in its totality

 as requested in this action and as provided by the arbitration award, plus interest until all sums

 are paid, attorneys’ fees, costs, and for such other or further relief the Court deems proper.

 Dated: July 17, 2019

                                                       SONN & EREZ, PLC
                                                       Attorneys for Petitioner
                                                       SunTrust International Center
                                                       1 SE Third Avenue, Suite 1670
                                                       Miami, FL 33131
                                                       Tel. 305-728-3320
                                                       Fax 786-842-7549
                                                       Email: jerez@erezlaw.com

                                                       By:/s/ Jeffrey Erez
                                                               Jeffrey Erez, Esquire
                                                               Florida Bar No. 102369




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